         Case 1:17-cr-00232-EGS Document 176 Filed 04/03/20 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant

                                      STATUS REPORT

       The United States of America, by and through the U.S. Attorney for the District of

Columbia, files this status report. On February 27, 2020, the Court ordered the parties to file a

joint proposed order setting forth the terms of the waiver of the attorney-client privilege and the

authorization of disclosure of information with respect to Mr. Flynn’s ineffective assistance of

counsel claims by no later than 12:00 PM on March 6, 2020. On March 6, the parties filed a Joint

Stipulation and submitted a joint proposed Order, consistent with the District of Columbia Rules

of Professional Conduct Rule 1.6, proposing that Covington and Burling, LLP (“Covington”) be

ordered to take all actions reasonably necessary to respond to defendant Flynn’s specific

allegations of ineffective assistance of counsel. The Court issued this Order on the afternoon of

March 6, 2020.

       Government counsel shared this Order with Covington on the afternoon of March 6, 2020.

As required by the Order, Covington has provided timely and substantial productions “reasonably

necessary” to respond to the “specific allegations” made by the defendant in his motions to

withdraw his plea. To date, the government has received multiple productions of partially-redacted

documents relevant to this inquiry from Covington (which have been shared with defense counsel,

who is already in possession of unredacted versions previously produced to them by Covington).

These documents are voluminous, span numerous topics that arose during Covington’s 30-month
         Case 1:17-cr-00232-EGS Document 176 Filed 04/03/20 Page 2 of 2



representation of Mr. Flynn, and include many pages of sometimes difficult-to-decipher

handwritten notes. The government needs additional time to digest this information and any

additional information that Covington may provide.

       On March 27, 2020, the Court ordered the government to provide a status report informing

the Court of the status of the production from Covington & Burling LLP or, if feasible, proposing

a briefing schedule, by no later than 12 p.m. on April 3, 2020. The government is working

diligently to review the materials provided to it by Covington. The government also anticipates at

least one additional production of materials from Covington next week. In order to allow the

government adequate time to review the materials that have been produced and to request, receive,

and review any follow-up information or documents, the government respectfully asks this Court

to allow the government three additional weeks to provide a further status update and, if feasible,

a proposed briefing schedule.

       Wherefore the government asks this Court to order it to provide a further status update and,

if feasible, a proposed briefing schedule, no later than 12 p.m. on April 24, 2020.

                                                     Respectfully submitted,

                                                     TIMOTHY J. SHEA
                                                     United States Attorney
                                                     D.C. Bar 437437

                                                     By: /s/ Jocelyn Ballantine
                                                     Jocelyn Ballantine
                                                     Assistant United States Attorney
                                                     555 4th Street NW
                                                     Washington, D.C. 20530


Dated: April 3, 2020




                                                 2
